                       IN THE SUPREME COURT OF THE STATE OF NEVADA


                YACOV JACK HEFETZ,                                     No. 68438
                                 Appellant,
                             vs.
                CHRISTOPHER BEAVOR,
                                        Responden
                YACOV JACK HEFETZ,                                     No. 68843
                                 Appellant,
                             vs                                                   FILED
                CHRISTOPHER BEAVOR,
                                 Respondent.                                      APR 0 1 2016

                                     ORDER DISMISSING APPEALS
                                                                                    pure CLERK

                            These consolidated appeals are from a district court order
                granting a motion to dismiss a complaint in a breach of contract action
                and an order granting a motion for attorney fees and costs. Eighth
                Judicial District Court, Clark County; Ronald J. Israel, Judge.
                            When our preliminary review of the amended docketing
                statement and the documents before this court revealed potential
                jurisdictional defects, we ordered appellant to show cause why these
                appeals should not be dismissed for lack of jurisdiction. It appeared that
                the district court had not yet entered a written order adjudicating all the
                rights and liabilities of all the parties such that the June 17, 2015, order
                was not a final judgment appealable under NRAP 3A(b)(1); Lee v. GNLV
                Corp., 116 Nev. 424, 427, 996 P.2d 416, 418 (2000). Specifically, it
                appeared that the claims asserted by Alis Cohen, the claims asserted
                against Samantha Beavor, and the counterclaims may remain pending in
                the district court. And in the absence of a final judgment, the order
                awarding attorney fees and costs is not appealable as a special order after
                final judgment. See NRAP 3A(b)(8).
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                               In response to our order, appellant has demonstrated that the
                claims asserted by Alis Cohen and against Samantha Beavor have been
                resolved. Appellant asserts that the counterclaims were dismissed when
                the court granted his "Rule 50(a) motion" and cites to exhibits 5 and 7 to
                the response. Exhibit 5 is a copy of the district court minute entries from
                March 1, 2013. Those entries indicate that the district court orally
                dismissed the counterclaims. However, the district court's minute order is
                ineffective.   See State, Div. Child &amp; Fam. Serv. v. Dist. Court, 120 Nev.
                445, 451, 92 P.3d 1239, 1243 (2004). Exhibit 7 is a notice of entry of
                judgment for the "May 17, 2013," judgment on jury verdict.' The
                judgment attached thereto is not file-stamped and is thus ineffective.   See
                id.; NRCP 58(c). Moreover, the judgment does not purport to dismiss or
                otherwise enter judgment on the counterclaims. Appellant thus fails to
                demonstrate that the district court has entered a final judgment resolving
                all the claims of all the parties below. As a result, it appears that this
                court lacks jurisdiction over these appeals and we
                               ORDER these appeals DISMISSED.




                      3-The district court docket sheet indicates that the judgment was
                entered on May 21, 2013, not May 17.

SUPREME COURT
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     NEVADA


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                 cc:   Ronald J. Israel, District Judge
                       Cohen-Johnson LLC
                       Dickinson Wright PLLC
                       Eighth District Court Clerk
                       James J. Jimmerson, Settlement Judge




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